Case 1:1O-cV-O4974-R.]S Document 205 Filed 02/16/16 Page 1 of 1

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UNITED sTATEs DisTRIcT CoURT j
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ouch AMERICA, INC., er az., g 1 -' _;i; _L\¢l%\*r_: §§
Plaimirfs, j n _' d umw " l
-v- No. l()-cv~4974 (RJS)
oRDER
WEIXING Li, er az.,
Defendants.

 

 

RICHARD J. SULLIVAN, District Judge:

Now before the Court is a joint letter from Plaintiffs and non-party Bank of China (“BOC”),
dated February 11, 2016, indicating that the parties are still in discussions over BOC’s document
production and that BOC intends to produce additional materials by February 26, 2016. (Doc. No.
204.) IT IS I-IEREBY ORDERED THAT the parties shall write a joint letter to the Court no later

than March 2, 2016 with an update on the status of the document production and a proposal for

next steps.
SO OR_DERED.
Dated: February 16, 2016

    

New York, New York

 

 

RIC ARD J. sULLIvAN " ' ~€S"~J

UNITED STATES DISTRICT JUDGE

